      2:20-cv-03062-DCN          Date Filed 10/07/20      Entry Number 24         Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                (CHARLESTON DIVISION)

 SOUTH CAROLINA COASTAL                      )              Case No. 2:20-cv-03062-DCN
 CONSERVATION LEAGUE, SOUTH                  )
 CAROLINA NATIVE PLANT SOCIETY,              )
 AMIGOS BRAVOS, NATURAL RESOURCES            )
 DEFENSE COUNCIL, SAVANNAH                   )
 RIVERKEEPER, WATERKEEPER                    )
 ALLIANCE,                                   )              ORDER GRANTING MOTION TO
                                             )              INTERVENE BY AMERICAN
        Plaintiffs,                          )              PETROLEUM INSTITUTE AND
 v.                                          )              INTERSTATE NATURAL GAS
                                             )              ASSOCIATION OF AMERICA
 ANDREW R. WHEELER, in his official capacity )
 as Administrator of the United States       )
 Environmental Protection Agency, and the    )
 UNITED STATES ENVIRONMENTAL                 )
 PROTECTION AGENCY,                          )
                                             )
        Defendants.                          )
 _________________________________________ )

       This matter comes before the Court upon review of the American Petroleum Institute

(“API”) and the Natural Gas Association of America (“INGAA”)’s Motion to Intervene [ECF

No. 15] filed on September 11, 2020, pursuant to Rule 24 of the Federal Rules of Civil

Procedure. API and INGAA are entitled to intervene as a matter of right pursuant to Fed. R. Civ.

P. 24(a)(2) because: (1) the motion is timely; (2) API and INGAA have a significant protectable

interest relating to the subject of the suit; (3) that interest may be impaired or impeded by the

disposition of this case; and (4) none of the other parties adequately represent API and INGAA’s

interests. API and INGAA may also intervene pursuant to Fed. R. Civ. P. 24(b)(1)(B) because

the defenses that API and INGAA would assert present questions of law and fact in common

with the underlying suit and would respond directly to the Plaintiffs’ claims.

       API and INGAA are instructed to file a proposed answer and answers to interrogatories

pursuant to Local Rule 26.01 within 7 days after filing of the defendants’ initial pleading.
     2:20-cv-03062-DCN       Date Filed 10/07/20   Entry Number 24   Page 2 of 2




       Therefore, IT IS HEREBY ORDERED:

       API and INGAA’s Motion to Intervene is GRANTED.

       IT IS SO ORDERED.




                                              ____________________________________
                                               David C. Norton
                                               United States District Judge

October 7, 2020
Charleston, South Carolina
